                                            IN THE

            Court of Appeals of Indiana
                                                                                     FILED
                                             Jana Stacy,                       Aug 26 2024, 9:19 am

                                                                                     CLERK
                                Appellant/Cross-Appellee-Plaintiff              Indiana Supreme Court
                                                                                   Court of Appeals
                                                                                     and Tax Court


                                                    v.

            ASI Select Insurance Corp., and United Dynamics, Inc.,
                             Appellees/Cross-Appellants-Defendants


                                           August 26, 2024
                                    Court of Appeals Case No.
                                          23A-CT-2529
                              Appeal from the Floyd Circuit Court
                             The Honorable Justin B. Brown, Judge
                                       Trial Court Cause No.
                                        22C01-2102-CT-281


                                 Opinion by Judge Riley
                            Judges Kenworthy and Felix concur.




Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024   Page 1 of 26
      Riley, Judge.


      STATEMENT OF THE CASE
[1]   In this consolidated appeal, Appellant/Cross-Appellee – Plaintiff, Jana Stacy

      (Stacy), appeals the trial court’s summary judgment in favor of Appellee –

      Defendant, ASI Select Insurance Corp. (ASI), on Stacy’s breach of contract

      claim. Additionally, on interlocutory appeal, Appellee/Cross-Appellant –

      Defendant, United Dynamics, Inc. (UDI), appeals the trial court’s denial of its

      motion for summary judgment, which concluded that there is a genuine issue of

      material fact that UDI’s work was negligently completed.


[2]   We affirm in part and reverse in part.


      ISSUES
[3]   In her appeal against ASI, Stacy presents this court with two issues, one of

      which we find dispositive and which we restate as follows:


              Whether a genuine issue of material fact exists as to whether
              Stacy failed to timely notify ASI of the damage resulting from
              UDI’s work; and


[4]   In its interlocutory appeal, UDI presents this court with four issues, one of

      which we find dispositive and restate as:


              Whether the trial court erred, as a matter of law, by concluding
              that the relationship between UDI and Stacy should have been
              governed by the Indiana Home Improvement Contract Act
              (HICA) and not by the foreseeability doctrine as clarified by our


      Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024         Page 2 of 26
              Indiana Supreme Court’s holding in U.S. Automatic Sprinkler
              Corporation v. Erie Insurance Exchange, 204 N.E.3d 215 (Ind. 2023).


      FACTS AND PROCEDURAL HISTORY
[5]   In March 2019, Stacy purchased a home located at 2412 Stover Drive, New

      Albany, Indiana. Shortly after moving into the residence, Stacy noticed

      drainage issues in the bathtub, with water draining from the bathtub flowing

      back into the residence. Stacy hired Greenwell Plumbing, Inc. (Greenwell) to

      address the issue. After running a camera down the drain, Greenwell

      discovered that a collapsed sewer line was the cause of the backup. Greenwell

      informed Stacy of the collapse and Stacy retained Greenwell to repair the

      collapsed line.


[6]   On May 15, 2019, two Greenwell employees arrived at the residence with a

      backhoe to assist in the repair of the damaged sewer line. They located the

      collapsed portion of the sewer line with a camera, dug to the top of the line with

      the backhoe, and then dug the remainder of the dirt by hand. Meanwhile Stacy

      was in the basement of the residence unpacking boxes when she heard two

      “booms,” which she attributed to Greenwell’s backhoe hitting the residence.

      (Appellant’s App. Vol. II, p. 190). However, both employees later informed

      Jason Thompson (Thompson), Greenwell’s general manager of services, that

      the backhoe never struck the residence.


[7]   “Six weeks” after Greenwell completed its repair work at the residence, Stacy

      noticed a crack in the residence’s exterior brick work and the foundation


      Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024       Page 3 of 26
      moving inwards. (Appellant’s App. Vol. II, p. 190). She contacted Thompson

      and claimed the crack resulted from Greenwell’s employees hitting the

      residence with the backhoe. In September 2019, Thompson visited the

      residence to survey the alleged damage. Despite acknowledging that he did not

      notice any indication that the damage had been caused by a backhoe, as a

      gesture of goodwill, Thompson offered to retain UDI to repair the damage to

      the exterior and the foundation of the residence. In exchange for Greenwell

      retaining UDI to repair the damage for an amount of $4,800, Stacy executed a

      Standard General Release (Release) in which she released any current or future

      claim against Greenwell for its work at the residence in exchange for Greenwell

      paying UDI to repair the damage caused on May 15, 2019. Contained within

      this Release was the following provision:


              The Customer [Stacy] agrees to release, hold harmless and
              indemnify the Company [Greenwell] and its affiliates and each of
              its respective agents, attorneys, employees, directors and officers
              and the successors, assigns, heirs, executors, administrators and
              legal representative of each of the foregoing from and against any
              and all liabilities, action, causes of action, claims, rights
              obligations charges, damages, costs, attorney’s fees, suits, and
              demands of any and every kind, nature and character, whether
              known or unknown, fixed or contingent, now existing or later
              developing that arise out of or relate to the actions or inactions of
              the Company.


      (Appellant’s App. Vol. III, p. 158).


[8]   During its repair work on Stacy’s residence, UDI installed four steel piers to

      stabilize the home. Stacy claimed UDI incorrectly performed the piering work

      Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024        Page 4 of 26
      and as a result damaged the drywall in the basement, the foundation of the west

      wall, the exterior bricks, and caused ceiling cracks. UDI completed its work at

      the residence on October 2, 2019. That same day, Stacy informed ASI, her

      homeowner’s insurance company, of the damage to her home. After receiving

      notification of the claim, ASI retained Tim Lee (Lee), a structural engineer with

      U.S. Forensics, to assess the damage to the residence. After inspection, Lee

      concluded that “the sewer construction work resulted in mortar joint cracks and

      separations in the concrete masonry unit foundation, additional separation in

      the west concrete foundation wall, cracks and displacements in the mortar

      joints of the brick veneer, and cracks in the interior walls and ceilings

      coverings.” (Appellant’s App. Vol. III, p. 192). He also found that “the cracks

      in the walls and ceiling of the building were recent and were the result of repairs

      to the CMU crawlspace foundation along the south side of the building.”

      (Appellant’s App. Vol. III, p. 192). Based on these conclusions, Lee further

      clarified that the “damage caused by the excavation work was not the result of

      an impact by” the backhoe. (Appellant’s App. Vol. III, p. 193).


[9]   On March 16, 2020, ASI denied Stacy’s claim after finding that the cracks in

      the walls and ceilings were due to repair work to the foundation and that faulty,

      inadequate, or defective workmanship was not covered under the Policy. ASI

      also specifically noted that “separation in the west concrete foundation wall,

      cracks and displacements in the mortar joints of the brick veneer, and cracks in

      the interior walls and ceiling coverings and cracks in the walls and ceilings were

      caused by the repair to the CMU foundation performed by [UDI] following the


      Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024         Page 5 of 26
       sewer excavation.” (Appellant’s App. Vol. IV, p. 56). In its letter, ASI reserved

       the right to deny coverage on other grounds that may arise.


[10]   On February 26, 2021, Stacy filed a Complaint, alleging claims of negligent

       workmanship against Greenwell and UDI, claims for breach of contract against

       ASI and Greenwell, and a vicarious liability claim against Greenwell. In

       August 2021, based on the terms of the Release, Stacy dismissed her claims

       against Greenwell. ASI’s Response to Stacy’s Complaint asserted in its

       Affirmative Defenses, among others, that Stacy had failed to provide timely

       notice of her claim and that her claim was excluded under the Policy to the

       extent that the claim was the result of faulty, inadequate or defective design,

       specifications, or workmanship. During discovery, Stacy answered ASI’s

       interrogatories by repeatedly asserting that “[UDI] was hired by Greenwell to

       repair the damage, and they made it worse.” (Appellant’s App. Vol. III, p. 161,

       see also in similar wording at pp. 164-65, 166).


[11]   On April 7, 2023, ASI moved for summary judgment, filing a memorandum in

       support and designation of evidence and contending that Stacy’s late notice and

       her release of Greenwell from liability before giving notice of the claim to ASI

       were material breaches of the Policy such that ASI did not have a duty to

       provide coverage for the damages under the Policy’s provisions. Alternatively,

       ASI asserted that even if there was an issue of material fact as to Stacy’s breach

       of the Policy, Stacy’s own pleadings against Greenwell and UDI with claims of

       negligent workmanship against both contractors amounted to an admission that

       the Policy did not provide coverage. Later that same month, on April 28, 2023,

       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024      Page 6 of 26
       UDI filed its motion for summary judgment, together with a memorandum in

       support and designation of evidence. In its memorandum, UDI advanced four

       grounds to grant its motion. First, UDI alleged that it did not owe a duty

       because Stacy was not in privity of contract with UDI and only property

       damage had been alleged. Second, UDI contended that the economic loss

       doctrine precluded Stacy from recovering under a tort theory. Third, in the

       event UDI owed Stacy a duty, UDI did not commit a breach of that duty

       because it performed the work correctly. Lastly, Greenwell had released UDI

       from liability for the damages now claimed by Stacy. On August 1, 2023, Stacy

       filed her responses in opposition to both ASI’s and UDI’s motions for summary

       judgment.


[12]   On September 28, 2023, the trial court issued its Order granting summary

       judgment to ASI, while denying UDI’s motion for summary judgment. In its

       Order, the trial court concluded that there was no genuine issue of material fact

       that Stacy had released Greenwell from liability prior to reporting her claim to

       ASI thereby destroying ASI’s subrogation rights and that Stacy had failed to

       provide ASI with timely notice of her claim. In denying UDI’s motion, the trial

       court noted that a genuine issue of material fact remained as to whether UDI’s

       work was negligently performed. On October 10, 2023, the trial court entered

       final judgment in ASI’s favor pursuant to Indiana Trial Rule 54(B).


[13]   On October 17, 2023, UDI filed its motion to correct error, motion for

       certification of order, and motion to enlarge expert disclosure deadline. After a



       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024      Page 7 of 26
       hearing 1, the trial court denied the motion to correct error. Reaffirming its

       previous holding on UDI’s negligent workmanship, the trial court addressed

       UDI’s other three arguments in detail. The court first concluded that because

       Stacy was not a party to the contract between UDI and Greenwell, the court

       declined to find that Stacy was bound by the exculpatory clause of the UDI-

       Greenwell contract. Second, because Stacy not only characterized her claim as

       negligent workmanship, but at “oral arguments, Stacy’s counsel articulated that

       it was a claim for breach of contract,” UDI’s argument that Stacy’s claim is

       precluded by the economic loss doctrine failed. (UDI’s App. Vol. II, p. 25).

       Third, the trial court found that because UDI failed to contract with Stacy as

       mandated under the HICA which requires a real property improvement

       supplier to provide a contract to the consumer prior to commencing the work,

       UDI could not circumvent this requirement by contracting with Greenwell and

       not Stacy. Even though the trial court denied UDI’s motion to correct error, it

       granted certification of its September 28, 2023 Order for interlocutory appeal.


[14]   On January 11, 2024, UDI filed its motion for interlocutory appeal, which this

       court granted on February 14, 2024. That same day, we consolidated Stacy’s

       already pending appeal against ASI with UDI’s interlocutory appeal.


[15]   Additional facts will be provided if necessary.




       1
        The parties did not provide this court with a transcript of the summary judgment hearing or the hearing on
       UDI’s motion to correct error.

       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024                             Page 8 of 26
       DISCUSSION AND DECISION
       I. Standard of Review


[16]   Stacy challenges the trial court’s grant of summary judgment to ASI, while UDI

       disputes the trial court’s denial of its motion for summary judgment. “The

       purpose of summary judgment is to terminate litigation about which there can

       be no factual dispute and which can be determined as a matter of law.” Lamb v.

       Mid Ind. Serv. Co., 19 N.E.3d 792, 793 (Ind. Ct. App. 2014). “The party moving

       for summary judgment has the burden of making a prima facie showing that

       there is no genuine issue of material fact and that it is entitled to judgment as a

       matter of law.” Mint Mgmt., LLC v. City of Richmond, 69 N.E.3d 561, 564 (Ind.

       Ct. App. 2017); Ind. Trial Rule 56(C). Summary judgment is a “high bar” for

       the moving party to clear in Indiana. Hughley v. State, 15 N.E.3d 1000, 1004

       (Ind. 2014). If “the moving party satisfies this burden through evidence

       designated to the trial court, the non-moving party may not rest on its

       pleadings, but must designate specific facts demonstrating the existence of a

       genuine issue for trial.” Biedron v. Anonymous Physician 1, 106 N.E.3d 1079,

       1089 (Ind. Ct. App. 2018) (quoting Broadbent v. Fifth Third Bank, 59 N.E.3d 305,

       311 (Ind. Ct. App. 2016), trans. denied), trans. denied. “A fact is material if its

       resolution would affect the outcome of the case, and an issue is genuine if a trier

       of fact is required to resolve the parties’ differing accounts of the truth, or if the

       undisputed material facts support conflicting reasonable inferences.” Williams

       v. Tharp, 914 N.E.2d 756, 761 (Ind. 2009) (citation and quotation marks

       omitted).

       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024          Page 9 of 26
[17]   We review a court’s ruling on a summary judgment motion de novo, applying

       the same standard as the trial court. Hughley, 15 N.E.3d at 1003. “In

       conducting our review, we consider only those matters that were designated to

       the trial court during the summary judgment stage.” Lowrey v. SCI Funeral

       Servs., Inc., 163 N.E.3d 857, 860 (Ind. Ct. App. 2021), trans. denied. “In

       determining whether issues of material fact exist, we neither reweigh evidence

       nor judge witness credibility [but] accept as true those facts established by the

       designated evidence favoring the non-moving party.” Id. (citations omitted).

       “Any doubts as to any facts or inferences to be drawn from those facts must be

       resolved in favor of the nonmoving party.” Denson v. Est. of Dillard, 116 N.E.3d

       535, 539 (Ind. Ct. App. 2018). However, “[m]ere speculation is insufficient to

       create a genuine issue of material fact to defeat summary judgment.” Biedron,

       106 N.E.3d at 1089. In the summary judgment context, we are not bound by

       the trial court’s findings of fact and conclusions thereon, but they aid our review

       by providing the reasons for the trial court’s decision. Howard Cnty. Sheriff's

       Dep’t &amp; Howard Cnty. 911 Commc’ns v. Duke, 172 N.E.3d 1265, 1270 (Ind. Ct.

       App. 2021), trans. denied. The party that lost in the trial court bears the burden

       of persuading us that the trial court erred. Biedron, 106 N.E.3d at 1089.


       II. ASI’s Summary Judgment


[18]   The trial court entered summary judgment in favor of ASI based on two prongs:

       (1) Stacy’s late notice of the potentially insured claim prejudiced ASI and (2) by

       signing the Release, Stacy destroyed ASI’s subrogation rights even before she

       notified the insurance company of the damage to the residence.
       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024      Page 10 of 26
       Late Notice


[19]   The duty to notify an insurance company of potential liability is a condition

       precedent to the insurer’s liability to its insured. Shelter Mut. Ins. Co. v. Barron,

       615 N.E.2d 503, 507 (Ind. Ct. App. 1993), trans. denied. As such, “[n]otice is a

       threshold requirement which must be met before an insurer is even aware that a

       controversy or matter exists which requires the cooperation of the insured.”

       Motorist Mutual Insurance Co. v. Johnson, 218 N.E.2d 712, 717 (Ind. Ct. App.

       1966). The notice requirement is “material, and of the essence of the contract.”

       London Guarantee &amp; Accident Co. v. Siwy, 66 N.E. 481, 482 (Ind. Ct. App. 1903).

       The Indiana Supreme Court stated in Miller v. Dilts, 463 N.E.2d 257, 265 (Ind.

       1984):


                The requirement of prompt notice gives the insurer an
                opportunity to make a timely and adequate investigation of all
                the circumstances surrounding the accident or loss. This
                adequate investigation is often frustrated by a delayed notice.
                Prejudice to the insurance company’s ability to prepare an
                adequate defense can therefore be presumed by an unreasonable
                delay in notifying the company about the accident or about the
                filing of the lawsuit.


       “The presumption of prejudice means that if the delay in giving the required

       notice is unreasonable, the burden falls on the insured to produce evidence that

       prejudice did not actually occur in the particular situation.” Ind. Farmers Mut.

       Ins. Co. v. North Vernon Drop Forge, Inc., 917 N.E.2d 1258, 1274 (Ind. Ct. App.

       2009) (citing Erie Ins. Exch. v. Stephenson, 674 N.E.2d 607, 612 (Ind. Ct. App.

       1996)). Thus, in a summary judgment action, it is incumbent upon the alleged-

       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024         Page 11 of 26
       insured to set forth “some evidence” to rebut the presumption that the insurer

       has “suffered prejudice of its right to conduct a timely and adequate

       investigation.” Erie Ins. Exch., 674 N.E.2d at 612. Once the alleged insured

       does so, “the burden shifts back to the insurer to establish prejudice.” Ind.

       Farmers, 917 N.E.2d at 1274.


[20]   ASI’s Policy contained a specific provision regarding Stacy’s duty to promptly

       notify the insurance company after a loss:


               SECTION I – CONDITIONS


               What Must Be Done After A Loss


               In the event of a loss to which coverage may apply, the following
               duties must be performed either by you, an “insured” seeking
               coverage, or a representative of either:


               1. Give immediate notice to us;


       (Appellant’s App. Vol. III, p. 50). As the notice provision contained in the

       Policy is clear and unambiguous, Stacy’s duty to ‘immediately notify’ ASI of

       the loss is a condition precedent to ASI providing coverage under the Policy for

       the damages arising from the purported negligent work performed by Greenwell

       and UDI. Because the notice provision is a condition precedent to obtaining

       coverage under the Policy, we must determine whether Stacy satisfied its duty

       to “give immediate notice” to ASI. (Appellant’s App. Vol. III, p. 50).




       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024      Page 12 of 26
[21]   To determine whether Stacy gave immediate notice of the loss to ASI, we

       evaluate whether the notice was given within a reasonable time by considering

       the purposes for which the notice was given and the circumstances of the

       particular case. Sutton v. Littlepage, 669 N.E.2d 1019, 1023 (Ind. Ct. App.

       1996); Employers Liab. Corp. v. Light, Heat, &amp; Power Co., 63 N.E. 54, 56 (Ind. Ct.

       App. 1902) (holding that “immediate” notice means “reasonable” notice). The

       designated evidence reflects that on May 15, 2019, Greenwell’s backhoe

       allegedly struck Stacy’s residence, resulting in damage to the foundation and a

       crack in the residence’s exterior brick work. However, Stacy did not notice the

       damage until six weeks later, around the end of June or the beginning of July.

       At that point, she contacted Thompson, who surveyed the damage in

       September 2019. After Stacy executed a Release, Greenwell contracted with

       UDI to repair the damage to the exterior and foundation of the residence. It

       was not until the day UDI finalized its repair work, on October 2, 2023,

       approximately three months after the damage of the backhoe incident was

       discovered and the damage had allegedly been rectified by UDI, that Stacy first

       contacted ASI and notified the insurance company of the loss. Although the

       temporal element of our analysis does not elevate this notice as being

       unreasonable per se, combined with the surrounding circumstances of this

       three-month time frame, we conclude that the notice was not given within a

       reasonable time. Within these three months, the damage had been assessed by

       Greenwell and a purported correction of these damages had been attempted by

       UDI. Stacy only contacted ASI of the loss after UDI had completed its

       rectification work and she became convinced that UDI had made the damage
       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024      Page 13 of 26
       worse. Under these circumstances, we conclude that Stacy failed to give

       reasonable notice to ASI. See Miller, 463 N.E.2d at 266 (court ordered summary

       judgment to be entered in favor of the three insurance companies which

       received notice of the accidents giving rise to liability one month, six months,

       and seven months after their occurrence and which received notice of the

       resulting lawsuits as early as five days after the suits were filed); See Askren Hub

       States Pest Control Servs, Inc. v. Zurich Ins. Co., 721 N.E.2d 270, 278 (Ind. Ct. App.

       1999) (“We believe that Askren’s delay of six months before notifying Zurich of

       the ‘occurrence’ constitutes unreasonable notice.”).


[22]   Even though Stacy did not give ASI reasonable notice of the loss, that failure

       alone will not bar recovery under the Policy unless ASI suffered prejudice as a

       result of the delay. See Miller, 463 N.E.2d at 265-66; see also Shelter, 615 N.E.2d

       at 507. Although ASI must show actual prejudice from Stacy’s unreasonable

       delay in providing notice about the loss, prejudice to ASI’s ability to prepare an

       adequate defense can be presumed where, as here, there was an unreasonable

       delay in notification. See Miller, 463 N.E.2d at 265. The presumption of

       prejudice essentially means that if the delay in giving the required notice is

       unreasonable, the injured party or the insured has the burden to produce

       evidence that no actual prejudice occurred in the particular situation. See id. In

       order to rebut this presumption that ASI could conduct nothing more than a

       cursory investigation, Stacy points to her own designated statements,

       deposition, and photographs of “the work done by Greenwell and [UDI].”

       (Stacy’s Reply Br. p. 18). She also contends that other witnesses were available


       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024        Page 14 of 26
       for depositions, and she alerts us to the report submitted by U.S. Forensics, the

       expert retained by ASI to assess the damage.


[23]   We conclude that Stacy failed to rebut the presumption of prejudice resulting

       from her unreasonable delay. Stacy’s designated evidence does not address

       ASI’s inability to view the temporary aspects of the original loss and the extent

       to which each contractor contributed to the damage. At the time notice was

       given, ASI was unable to evaluate the loss as UDI had already completely

       altered the original damage, thereby preventing ASI from assessing the original

       defects. “[T]imely notice gives the insurer an opportunity to investigate while

       evidence is fresh, evaluate the claim, and participate in early settlement.” Tri-

       Etch, Inc. v. Cincinnati Ins. Co., 909 N.E.2d 997, 1005 (Ind. 2009). Because ASI

       was prevented from meaningfully investigating the claim due to the

       unreasonably late notice, Stacy failed in rebutting the presumption of prejudice

       in favor of ASI.


[24]   In an effort to salvage part of her claim against ASI, Stacy requests this court to

       characterize her loss as two separate damage events. In a single sentence in her

       appellate brief and expounded on in her reply brief, Stacy now advances the

       theory that “[t]he separate damage by [UDI] would qualify as a new/separate

       occurrence under the Policy,” and as such, her notice of this loss would have

       been reasonable as it was provided on the same day as UDI completed its




       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024      Page 15 of 26
work. 2 (Stacy’s Br. p. 16). However, throughout these proceedings, Stacy has

consistently maintained that Greenwell’s actions were the “efficient proximate

cause” 3 of the damage. (Appellant’s App. Vol. III, p. 166). She also

acknowledged numerous times that “[UDI] was hired by Greenwell to repair

the damage, and they made it worse.” (Appellant’s App. Vol. III, p. 161, see

also in similar wording at pp. 164-65, 166). Accordingly, without Greenwell’s

initial damage to the foundation and the exterior wall, there was no reason for

UDI to enter the fray and correct the loss caused by Greenwell. Without

having to decide as to whether the loss consisted of one or two occurrences,

Stacy only notified ASI on the day UDI completed its purported corrective

work of Greenwell’s instigated damages. This delay prevented ASI from

determining the exact and specific cause of the damage and the extent to which

each contractor contributed to the loss. In other words, Stacy’s delay in

notifying ASI resulted in ASI having to evaluate stale evidence. See Tri-Etch,

Inc., 909 N.E.2d at 1005 (“[T]imely notice gives the insurer an opportunity to

investigate while evidence is fresh[.]”).




2
  While ASI claims that the argument of two occurrences was first made by Stacy on appeal, we disagree as
Stacy raised this as an alternative argument in her Response in Opposition to ASI’s motion for summary
judgment. See Appellant’s App. Vol. IV, p. 201.
3
  The efficient proximate cause rule states that where a peril specifically insured against sets other causes into
motion which, in an unbroken sequence, produce the result for which recovery is sought, the loss is covered,
even though other events within the chain of causation are excluded from coverage. “Stated in another
fashion, where an insured risk itself sets into operation a chain of causation in which the last step may have
been an excepted risk, the excepted risk will not defeat recovery.” Hartford Cas. Ins. Co. v. Evansville
Vanderburgh Public Library, 860 N.E.2d 636, 646 (Ind. Ct. App. 2007).

Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024                                 Page 16 of 26
[25]   Because there is no genuine issue of material fact that Stacy’s notice of the loss

       to ASI was unreasonably late, we affirm the trial court’s entry of summary

       judgment in favor of ASI on Stacy’s breach of contract claim. 4


       III. UDI’s Denial of Summary Judgment


[26]   In its interlocutory appeal, UDI contends that the trial court erred as a matter of

       law in concluding that the HICA should govern the relationship between Stacy

       and UDI instead of the foreseeability doctrine, as clarified by our Indiana

       Supreme Court’s holding in U.S. Automatic Sprinkler Corporation v. Erie Insurance

       Exchange, 204 N.E.3d 215 (Ind. 2023).


[27]   Under long-standing Indiana law, a defendant is liable to a plaintiff for the tort

       of negligence if (1) the defendant has a duty to conform its conduct to a

       standard of care arising from its relationship with the plaintiff, (2) the defendant

       failed to conform its conduct to that standard of care, and (3) an injury to the

       plaintiff was proximately caused by the breach. Indianapolis-Marion Cnty. Pub.

       Library v. Charlier Clark &amp; Linard, P.C., 929 N.E.2d 722, 726 (Ind. 2010).

       Construction negligence cases can generally be divided into two categories:

       “cases where the plaintiffs seeking to recover in tort were in privity of contract

       with the defendants and cases where they were not.” Id. at 734. It is

       uncontested that Stacy and UDI were not in privity of contract; rather




       4
        Because we affirm the trial court’s entry of summary judgment in favor of ASI based on Stacy’s untimely
       notice of the loss, we do not analyze Stacy’s claim that the execution of the Release only impacted ASI’s
       subrogation rights against Greenwell and not against UDI.

       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024                           Page 17 of 26
       Greenwell contracted with UDI, with Stacy’s approval, to correct the perceived

       damage caused to the residence by Greenwell. There is also no dispute that

       Stacy only alleged property damage and did not complain of having been

       personally injured.


[28]   In U.S. Automatic Sprinkler Corporation v. Erie Insurance Exchange, 204 N.E.3d 215
       (Ind. 2013), our supreme court recently considered whether a duty was owed

       when, like here, there was no privity of contract between the parties. The

       supreme court observed that traditionally the acceptance rule, with its various

       exceptions, “generally shielded” contractors “from third-party liability once the

       work is completed and then accepted by the owner.” Id. at 225. In other

       words, “‘contractors do not owe a duty of care to third parties after the owner

       has accepted the work.”’ Peters v. Forster, 804 N.E.2d 736, 738 (Ind. 2004)

       (quoting Blake v. Calumet Constr. Corp., 674 N.E.2d 167, 170 (Ind. 1996)).

       However, the Automatic Sprinkler Court noted that in Peters it had abandoned

       the acceptance rule in favor of the “foreseeability doctrine.” Automatic Sprinkler,

       204 N.E.3d at 225. Specifically, in Peters, our supreme court held that,


               A rule that provides that a builder or contractor is liable for injury
               or damage to a third person as a result of the condition of the
               work, even after completion of the work and acceptance by the
               owner, where it was reasonably foreseeable that a third party
               would be injured by such work due to the contractor’s
               negligence, is consistent with traditional principles of negligence
               upon which Indiana’s scheme of negligence law is based.




       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024        Page 18 of 26
Peters, 804 N.E.2d at 742. Continuing on the framework established in Peters,

the Supreme Court, in Automatic Sprinkler, “clarif[ied] the foreseeability

doctrine’s scope in two ways.” Automatic Sprinkler, 204 N.E.3d at 226. “First,

the foreseeability doctrine applies when a third party seeks recovery for personal

injury that was a foreseeable consequence of a contractor’s allegedly negligent

work.” Id. This harmonized the Peters decision’s goal of “equaliz[ing] the

liability field in the context of negligence claims resulting in injuries to third

parties.” Id. “Second, the doctrine applies when a third party seeks recovery

for property damage if personal injury—though not sustained—is a foreseeable

consequence of a contractor’s allegedly negligent work.” Id. This harmonized

the Citizen's Gas &amp; Coke Util. v. Amer. Econ. Ins., 486 N.E.2d 998, 1000 (Ind.

1985) decision’s goal of maintaining the privity requirement’s operation to

preclude recovery for property damages in a negligence action, where the

negligent work poses a risk only to property and not persons. Automatic

Sprinkler, 204 N.E.3d at 226-27. However, when the contractor’s work

“possesses a risk to only property—not persons—the privity requirement

remains operative and precludes recovery for property damages in a negligence

case.” Id. at 227. In other words, the Court in Automatic Sprinkler granted two

avenues for third parties to recover against contractors: (1) seek recovery for a

personal injury caused by the contractor’s allegedly negligent work if the injury

was a foreseeable consequence of the allegedly negligent work, or (2) pursue a

claim for property damages against the contractor if personal injury was a

foreseeable consequence of the contractor’s allegedly negligent work.

Therefore, for a third party to recover for property damage under the
Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024         Page 19 of 26
       foreseeability doctrine, “it must be ‘reasonably foreseeable’ that a third party

       would be injured by such work.” Id. at 226 (quoting Peters, 804 N.E.2d at 742).


[29]   Accordingly, in order for Stacy to recover for the damage to her residence in the

       absence of any contractual or privity relationship with UDI, she must establish

       that it was reasonably foreseeable Stacy would be injured by UDI’s perceived

       defective work. In Automatic Sprinkler, our Supreme Court did not elaborate on

       what constituted a ‘reasonably foreseeable’ personal injury. Since Automatic

       Sprinkler was decided, Indiana courts have applied this new foreseeability

       doctrine in two cases. In BMI Properties, LLC v. Daewong, LLC, 224 N.E.3d

       1000,1005 (Ind. Ct. App. 2023), the subsequent owner of a mixed-use building

       filed a complaint against the builder of the property, alleging that a bedpost fell

       through the floor when a tenant was moving in, that bricks fell off the exterior

       of the building and damaged a nearby car, that the brick veneer of the building

       was peeling away allegedly due to design defects and improper drainage leading

       to bricks falling to the ground, and that there were visible mold spores which

       posed a health risk. Applying Automatic Sprinkler’s clarification of the

       foreseeability rule, the BMI court concluded that even though no one became

       injured when the bedpost broke through the floorboard, no one became ill due

       to exposure to the airborne spores and/or black mold, and no passersby were

       injured when the brick veneer peeled away from the building, whether personal

       injury was a foreseeable consequence of these events amounted to a genuine

       issue of material fact. Id. In Elpers Bros. Construction &amp; Suppel, Inc. v. Smith, 230

       N.E.3d 920, 931 (Ind. Ct. App. 2024), this court evaluated whether a duty was

       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024        Page 20 of 26
       owed by a development company to a homeowner, when the parties were not

       in privity of contract and where the homeowner had suffered only property

       damage. Upon analysis, we found that it was undisputed that the development

       company’s alleged negligence—its construction of other residences in the

       subdivision contributed to the erosion and sediment buildup in the nearby lake,

       which resulted in the homeowner’s malfunctioning geothermal heating and

       cooling system—did not pose a reasonably foreseeable risk of personal injury to

       the homeowner. Id. In light of these circumstances, we concluded that the

       privity requirement set forth in Citizens Gas and Automatic Sprinkler controlled,

       and the homeowner was therefore precluded from recovering property damages

       from the development company. Id.

[30]   Turning now to the case at hand, we observe that due to the lack of privity

       between Stacy and UDI, in order to recover for the perceived property damage

       Stacy must establish that “personal injury—though not sustained—[was] a

       foreseeable consequence of” UDI’s alleged negligent work. Automatic Sprinkler,

       204 N.E.3d at 226. The evidence reflects that six weeks after Greenwell

       completed its repair work at the residence, Stacy noticed a crack in the

       residence’s exterior brick work. Unlike in BMI, the evidence does not reflect

       the presence of any dislocated or fallen bricks. See BMI Properties, LLC, 224

       N.E.3d at 1005. Although the original damage was discovered sometime early

       July, UDI’s repairs did not commence until late September and were completed

       on October 2. There is no evidence that during this time the damage to the

       residence worsened or Stacy felt unsafe to remain in the home. Through her


       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024      Page 21 of 26
designated evidence and in her appellate brief, Stacy now contends that she

presented “substantial evidence demonstrating” that UDI’s work did not meet

industry standards and “directly resulted in significant property damage.”

(Appellant’s Reply Br. p. 14). She claimed that UDI’s negligence “violated the

standard practices for foundation stabilization and directly led to the observed

property damage.” (Appellant’s Reply Br. p. 14). Stacy contended that the

piering system to rectify the foundation problem required pouring new concrete

footers and driving steel piers into bedrock. However, Stacy did not designate

any evidence, nor can we find any, establishing that personal injuries might

have been a reasonably foreseeable result from UDI’s perceived negligent work.

To the contrary, Howard Byrd (Byrd), UDI’s employee who inspected Stacy’s

property before and after UDI performed the work, affirmed that UDI’s system

did not require pouring new concrete footings, rather the piers installed by UDI

“were pressed into the ground until they reached load bearing strata.”

(Appellant’s App. Vol. IV, p. 161). Byrd also noted that, when he inspected the

property on October 10, 2022, after UDI’s work had been completed, he did not

see any new cracks in the mortar joints where UDI had made repairs.

Similarly, neither Lee’s report nor Mark Ricketts, 5 Stacy’s expert, found

incorrectly installed resistance piers but rather only noted cosmetic repairs to

the residence. At no point during these corrective repairs was Stacy ever

advised that she needed to vacate the residence because it was unsafe.



5
 We note that Mark Ricketts’ report also depicts certain cracks in bricks and concrete that are not in the area
of the repairs completed by UDI and therefore are not defects that UDI was employed to remedy.

Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024                              Page 22 of 26
       Although Stacy points to a statement from UDI acknowledging that its work

       could physically injure Stacy or her dwelling, the statement was made as a

       caution to the homeowner “not to fall in the holes that [UDI] digs” for the

       footings, it does not amount to a recognition that personal injury was a

       reasonably foreseeable consequence of the work. (Appellant’s App. Vol. VI, p.

       121). Based on these circumstances, we do not find any genuine issues of

       material fact establishing that the alleged negligent workmanship carried with it

       a reasonable foreseeability of personal injury. See Automatic Sprinkler, 204

       N.E.3d at 226. Therefore, the privity requirement controls, and Stacy is

       precluded from recovering her property damages. See id.


[31]   Trying to avoid the application of our Supreme Court’s holding in Automatic

       Sprinkler, Stacy contends that the lack of contract between herself and UDI

       constituted a violation of the HICA. Relying on Indiana Code section 24-5-11-

       10, which requires that “[a] real property improvement supplier shall provide a

       completed real property improvement contract to the consumer before it is

       signed by the consumer,” Stacy argues that UDI, as a real property

       improvement supplier under I.C. § 24-5-11-6, should have contracted directly

       with her, as a consumer pursuant to I.C. § 24-5-11-2, and not with Greenwell.

       She maintains that UDI’s failure to comply with these statutory requirements

       “exposes [UDI] to liability for failing to meet statutory obligations.” (Stacy’s

       Reply Br. p. 11).


[32]   While we agree with Stacy that public policy strongly favors the enforcement of

       consumer protection statutes to ensure that homeowners are safeguarded

       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024      Page 23 of 26
       against deceptive practices and poor workmanship, Stacy’s argument in essence

       amounts to the abrogation of the well-known adage that Indiana courts

       recognize the freedom of parties to enter into contracts and presume that

       contracts represent the freely bargained agreement of the parties. Fresh Cut, Inc.

       v. Fazli, 650 N.E.2d 1126, 1129 (Ind. 1996).


[33]   The reality before us acknowledges that Greenwell and UDI contracted for the

       benefit of Stacy. The contract between Greenwell and UDI was not a “real

       property improvement contract” because it was not entered into between a

       “consumer” and a “real property improvement supplier.” I.C. § 24-5-11-4.

       Therefore, the HICA did not apply to UDI for the purpose of its transaction

       with Greenwell. Moreover, Stacy consented to Greenwell entering into an

       “agreement to allow [UDI] to fix the foundation.” (Appellant’s App. Vol. IV,

       p. 85). Stacy and Greenwell negotiated the Release, which directly contributed

       to Greenwell entering into a contract with UDI to correct Greenwell’s alleged

       damages. In the provisions of the Release, Stacy acknowledged that “[t]he

       customer accepts that by Greenwell paying [UDI] for quoted repairs due to

       damage caused during service on 05/15/2019 in the amount of $4,800.00 that

       this claim will be satisfied and closed.” (Appellant’s App. III, p. 158). Instead

       of negotiating with Greenwell to pay her a lump sum and then contracting

       directly with the provider of the repairs, Stacy voluntarily elected to permit

       Greenwell to coordinate and pay for the foundation repairs. To that end,

       Greenwell entered into a contract with UDI. It is only after the Release was

       executed and the repairs made that Stacy complained of the contractual


       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024      Page 24 of 26
       structure that she freely negotiated and agreed upon. While we agree that

       HICA’s intent is to protect consumers from substandard and deceptive practices

       in home improvement transactions, Stacy has not designated any evidence

       supporting the allegation that the agreed upon contractual framework

       intentionally allowed “UDI to bypass the protections afforded by HICA” to

       Stacy. (Stacy’s Reply Br. p. 11).


[34]   Accordingly, based on the designated evidence before us, we conclude that UDI

       did not owe a duty to Stacy because the parties were not in privity of contract

       and personal injury was not reasonably foreseeable to result from the alleged

       acts of negligence. Therefore, as there are no genuine issues of material fact,

       UDI is entitled to summary judgment as a matter of law. We reverse the trial

       court’s denial of UDI’s motion for summary judgment. 6


       CONCLUSION
[35]   Based on the foregoing, we hold that no genuine issue of material fact exists

       that Stacy failed to timely notify ASI of the damage resulting from UDI’s

       workmanship. However, because we hold that no privity of contract exists

       between Stacy and UDI and personal injury was not reasonably foreseeable to




       6
         Because we find UDI’s privity of contract argument determinative of the cause before us, we will not
       address UDI’s alternative arguments with respect to the application of the economic loss doctrine and with
       respect to waiver of claims for property damage pursuant to the exculpatory clause in UDI’s contract with
       Greenwell.

       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024                            Page 25 of 26
       result from the alleged acts of negligence, we reverse the trial court's denial of

       UDI’s motion for summary judgment and enter summary judgment for UDI.


[36]   Affirmed in part and reversed in part.


       Kenworthy, J. and Felix, J. concur


       ATTORNEY FOR APPELLANT
       William D.Beyers
       Buchanan &amp; Bruggenschmidt, PC
       Zionsville, Indiana


       ATTORNEYS FOR APPELLEES
       William J. Beggs
       Ryan M. Heeb
       Bunger &amp; Robertson
       Bloomington, Indiana
       Eric C. McNamar
       Edmund L. Abel
       Lewis Wagner, LLP
       Indianapolis, Indiana




       Court of Appeals of Indiana | Opinion 23A-CT-2529 | August 26, 2024       Page 26 of 26
